Case 8:24-cr-O0068-KKM-TGW Document 53-2 Filed 06/27/24 Page 1 of 2 PagelD 482

INTERNET ARCHIVE [https /AWww wgnsradio.comvarticle/54354/links

WAYRCUMACHINE captures .

c EQ] oct Q
<i>
2021 BAZ] 2023 Ga

WGNSRADIO.COM FM 1013 AM 1450 | FM160.5

&sr98"

16 Jan 2022 - 27 Dec 2022

ran) ty be 1S ee?) a ht) 1) EO] 11 ad Oh | 10) 0 i de oe) DL Oe Vk 101-1)

J) fo) M7 wa ce) maej Mek) ] Teta Tokai a tey-wale) bel mie) lew ae ee) ley-y ge

| Search a
Links

JUN 28, 2011 AT 11:27 AM BY BRYAN

WGNS News App
https://jotacms.com/userlogin/
WGNS Wgns1450

https://myjotacms.com
bryan@wgnsradio.com Wxxx1xx0!

CBS Radio Newsfeed
http:/Iwww.cbsnewsfeed.com
WGNSRadio wgns1450

CBS Live Matrix
https://matrix.liveu.tv
|: cbs-matrix-demo p: CBSnews!! [case sensitive]

ZipWhip

615-893-1450 motorcity771

Ad Impact Commercial Production Music Library
http://adimpactradio.com
news@wgnsradio.com wgns1450 wgnsfm wgnsfm

SecureNet Systems Streaming
https://secure.securenetsystems.net/myaccount/
wgns.fm@gmail.com ? ?wetv11

Sage EAS
http//192.168.1.67
admin admin

Learfield Cloud

Barix Exstreamer
http//192.168.1.253
admin wgns1450

Amazon S3 Bucket
https://console.aws.amazon.com/s3/home?region=us-west-2#

Tn Farm & Home Radio (download in emergency - We get daily email) CA 2001
http:/Awww.tnfarmbureau.org/index.asp?view=Radio

Download Weather Forecasts
ftp://ftp-audio.weatherology.com/
murfreesboro ? G2ki1AacG

Case 8:24-cr-O0068-KKM-TGW Document 53-2 Filed 06/27/24 Page 2 of 2 PagelD 483

Weatherology
http://affiliate.weatherology.com
WGNS Le9%Mé8#r

Clark Howard Minute
http://programming.dial-global.com/index.php?option=com_wrapper&view=wrapper&serviceid=69 &preset=clarkhowardminutes&ltemid=59
WGNS-AM ? 37130

MTSU Police Reports
http://police.mtsu.edu

Comeast Business
https://business.comcast.com/
bryan@wgnsradio.comeastbiz.net wgns1450

CBS / Braves Network XDS (Skyview)

192.168.1.11
tech wgns1450

http://myxdsreceiver.com
0470416 wgns1450

XDS Premiere
http://myxdsreceiver.premiereradio.com
0300059 ? ?titanium

Atlanta Braves Baseball (audio, schedule, etc)
http://www.680thefan.com/brn/
brn680

DG FastChannel
https://dgonline.dgfastchannel.com/dgonline/logon.jsp
WGNS-AM wgns1450

Premiere Commercial Downloads
http://premiereaffidavits.com/scripts/cgiip.exe/WService=webprime/login.html?rowid=0x0d1 bd606
5431 ? 5431

Ad Impact Commercial Downloads
WGNSFM WGNSFM (case sensative)

$532 Manual

2594 Wwianual

Sections: WGNS INTERNAL PAGES (password protected)
